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                6   Attorney for Plaintiff, COREY MITCHELL

                7

                I                               UNITED STATES DISTRICT COURT
                9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
            10

                     COREY MITCHELL                                  Case No. I : 13-cv-01 324-DAD-EPG
            11

            t2                             Plaintiff,                MEMORANDUM OF POINTS AND
                                                                     AUTHORITIES IN SUPPORT OX'
                     v                                               MOTION T'OR ATTORNEY'S F'EES
            13

            t4       CHAVEZ, ET AL                                   Judge: Hon. Dale A. Drozd
                                           Defendants                Magistrate Judge: Hon. Erica P. Grosjean
            l5                                                       Action Filed: 0812112013
            t6
            t7
            18             On August 18, 2017, after hearing evidence for about three days and then deliberating,

            t9      the jury returned a unanimous verdict for Plaintiff Corey Mitchell ("Mitchell") and against

            20      Defendants Officer Chavez (ooChavez") and Lieutenant Sheldon ("Sheldon"), for violation of

            2l      Mitchell's civil rights under 42 U.S.C. $ 1983. The jury awarded damages against the defendants

            22      for $50,000.00 each, for a total of $100,000. Mitchell was the prevailing party. Accordingly,

            23      Plaintiff seeks reasonable attorneys' fees as a result of the jury verdict and settlement that

            24      Offrcers Sheldon and Chaves violated Plaintiffs Eighth Amendment rights when they failed to

            25      protect him from attack by another prisoner.

            26

            27

            28

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                    MEMO OF POINTS AND AUTHORITIES IN ST]PPORT OF MOTION FOR ATTORNEY'S FEES
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                I                                               I.   FACTS
                )          This case involves an action brought under 42 U.S.C. $. 1983, in which a jury ultimately

                J   found that Defendants violated Plaintiff Corey Mitchell's Eighth Amendment Constitutional

                4   Right to be free of cruel and unusual punishment by failing to protect him from a serious risk of

                5   harm. (Verdict Form of 8/18/2017,F;x. D to Thomas Declarationr.)

                6          On September 5, 2011, Mitchell was stabbed by his cell-mate that Defendants had
                7   arranged to be transferred into Mitchell's cell. Plaintiff claimed, and the jury concluded, that

                I   Defendants were deliberately indifferent to a substantial risk of harm against Plaintiff, which

                9   Defendants knew of but disregarded by failing to take reasonable measures to address the risk.

            10      Instead, Defendants ignored Plaintiffs pleas for protection and arranged for a known enemy-

            1l      gang member to be transferred into Plaintiffls cell.

            T2             Plaintiff filed a complaint in court on August 21,2013 naming Chavez, Sheldon and
            13      other as Defendants. As Plaintiff initially represented himselt little discovery was done. In

            L4      March 2015, Pursuant to 28 U.S. Code $ 19154, the court screened Plaintiff s complaint and

            15      dismissed all claims and defendants other than the failure to protect claim against defendants

            t6      Sheldon and Chavez.

            17             Thereafter, the court appointed Daniel O. Jamison, Micah K. Nilsson and Justin L.

            18      Thomas, Dowling Aaron Inc., to represent Plaintiff Corey Mitchell in this case, on January 3,

            t9      2017. A true and correct copy of the Order of January 3,2017, Ex E to the Thomas Decl.
            20      Counsel were appointed because Mr. Jamison is a member of the pro bona panel of the Court for

            2t      prisoner cases.

            22             On January 20,2017 , the parties filed a stipulation requesting that the March 7,2017 tnal

            23      date and deadlines set by a prior scheduling order entered on December 14,2016 be vacated. In

            24      addition, because discovery had been closed by the time the Court appointed counsel for

            25      Plaintiff, counsel for Plaintiff moved to reopen discovery. Plaintiff s motion was granted, in part,

            26
                    tThe fact the verdict was vacated has no bearing on this motion. (See Thomas v. City of Tacoma,
            27
                    410 F.3d 644,649 (9th Cir. 2005), [where a verdict was returned by the jury, and the parties
            28      subsequently reached a settlement in which the verdict for Plaintiffs was vacated, the court still
                    stated that verdict was a "cleaÍ victory.")
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                1   and denied, in part. Plaintiff Counsel's requests to subpoena additional prison records, and to

                2   depose Defendants was granted. In preparation for the trial, counsel for Plaintiff spent
                a
                J   substantial time conducting the discovery, which included taking the Defendants' depositions

                4   and subpoenaing prison records; reviewing thousands of medical and prison records; an on-site

                5   conference with Mr. Mitchell; multþle telephonic conferences and written correspondence with

                6   Mr. Mitchell; researching the law as it applies to this case; subpoenaing percipient witnesses and

                7   preparing pre-trial documents, opening statement, closing argument and witness examination

                I   questions. (Thomas Decl. ,tf 10.)

                9           On the date of the continued trial, August 15, 2017, Mr. Nilsson and Mr. Thomas
            10      appeared and participated in a full jury trial. Counsel and the Court spent an entire day on pre-

            l1      trial matters. (Thomas Decl., î 1 1.) A jury was chosen and trial began on August 16, 2017, and
            t2      continued until the day of the verdict on August 18,2017. Mr. Nilsson and Mr. Thomas were

            13      present for all days of trial, which included opening statement, witness examinations and closing

            t4      arguments. (Thomas Decl., fl 11, see Minutes of Jury Trial, from August 15,2017 Io August 18,

            15      2017, Ex. F-I.)

            T6             The jury deliberated on the last day of trial for approximately one hour before retuming a

            t7      unanimous verdict in favor of Plaintift Mr. Mitchell. See Minutes of Jury Trial õf August 18,

            18      2017, Ex. I, and Verdict Form, Ex. D. The verdict awarded $100,000 to Mitchell for
            19      compensatory damages. The jury also found that the elements for punitive damages existed, and

            20      a further trial on the issue of punitive damages was set. Prior to the punitive stage of the trial, the

            2t      parties settled. Plaintiff s counsel attended a settlement conference on August 23,20t7 and a

            22      settlement was reached. The settlement, which was put on the record, included that the Court

            23      would retain jurisdiction to enforce the settlement and to determine attorney's fees and costs. In

            24      addition to the settlement, the parties entered into a stþulation for dismissal, which stipulated

            25      that the Court would retain jurisdiction to enforce the settlement agreement and to decide costs

            26      and fees.

            27             Plaintiffs attorneys, and paralegal put in a total of 576.5 hours in litigating this case,
            28      including the expended time by Mr. Thomas researching and writing this motion and the
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                I   additional briefing regarding recovering attorney's fees. Billing Statement, Ex. J, Thomas Decl.,

                2   'll] 13.) At the attorneys' and paralegals' full rate, the total fees for legal services rendered is

                J   $160,049.50, including Mr. Thomas' work on this motion and the Court-requested briefing on

                4   the appropriateness of attorney's fees. Billing Statement, Ex. J. When reduced by the attorney

                5   fee limits imposed by 42 U.S.C. $ 1997e, of a maximum of $198.00 ($132 x 1.5) per hour, those

                6   fees are reduced to $120,700.10. (See Page from the Intemet Site of the United States Courts

                7   "The Defender Service Program," Ex. K (noting the maximum amount paid for Public Defenders

                8   in non-capital cases (set under 18 U.S.C. $ 30064) is $132lhour). In addition, Plaintiff Counsel's

                9   firm incurred $6,697.54, in costs, which included computer research fees, filing fees, processor
            10      fees, travel charges, copying costs and witness fees. (Ex. J.) All of the above costs and fees

            11      would customarily be billed to clients in accordance with the firm's practice. (Thomas Decl. fl

            T2      I 3.)

            13                                          il.    LEGAL AI\ALYSIS
            I4              A. PLAINTTF',F IS ENTITLED TO FEES UNDER 42 U.S.C. S 1988
            15              A successful Plaintiff who brings suit under 42 U.S.C. $ 1983 is entitled to recover
            t6      reasonable attorneys' fees as the prevailing party. 42 U.S.C. $ 1988(b); see also F.R. Civ. Proc.

            17      54; L.R. 293.42 U.S.C. $ 1988(b), which provides that "[a] claim for attomey's fees and related

            18      nontaxable expenses must be made by motion unless the substantive law requires those fees to be

            l9      proved attnal as an element of damages." Fed. R. Civ. Proc. 54(dX2).

            20              Additionally, Eastern District of California Local Rule 293 provides:

            2t              (a) Time for Application. Motions for awards of attorneys' fees to prevailing parties
                                pursuant to statute shall be filed not, later than twenty-eight (28) days after entry of
            22                  final judgment. Such motions are governed by L.R. 230 for notice, opposition, reply,
                                and decision. See also Fed. R. Civ. P. 54(d), 58.
            23
                            (b) Matters to be Shown. All motions for awards of attorneys' fees pursuant to statute
            24                  shall, at a minimum, include an affidavit showing:
            25                         (1) that the moving party was a prevailing party, in whole or in part, in the
                                           subject action, and, if the party prevailed only in part, the specific basis on
            26                             which the moving party claims to be a prevailing pnty;
            27                         (2) that the moving parfy is eligible to receive an award of attorneys' fees,
                                           and the basis of such eligibility;
            28

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                I                      (3) the amount of attomeys' fees sought;
                2                      (4) the information pertaining to each of the criteria set forth in ( c ); and

                J                      (5) such other matters as are required under the statute under which the fee
                                           award is claimed.
                4
                           (c) Criteria for Award. In fixing an award of attorneys' fees in those actions in which
                5
                               such an award is appropriate, the Court will consider the following criteria:
                6
                               (1) the time and labor required of the attomey(s);
                7
                               (2) the novelty and difficulty of the questions presented;
                I
                               (3) the skill required to perform the legal service properly;
                9

            10
                               (4) the preclusion of other employment by the attomey(s because of the acceptance
                                    of the action;
            l1
                               (5) the customary fee charged in matters of the type involved;
            t2
                               (6) whether the fee contracted between the attorney and the client is fixed or
            13                     contingent;

            t4                 (7) æry time limitations imposed by the client or the circumstances;

            15                 (8) the amount of money, or the value of the rights involved, and the results obtained;

            T6                 (9) the experience, reputation, and ability of the attorney(s);

            t7                 (10) the ooundesirability" of the action;

            18                 (ll)the nature and length of the professional relationship between the attorney and
                                   the client;
            t9
                               (12) awards in similar actions; and
            20
                               (13) such other matters as the Court may deem appropriate under the circumstances.
            2l
            22             L.R. 293; see also Kerr v. Sueen Guild Extras, únc.,526F.zd67,70 (gth Cir. 1970)
            23      (setting out criteria noted in Local Rule 293).

            24             "Under applicable Ninth Circuit law, a plaintiff "prevails" when he or she enters into a
            25      legally enforceable settlement agreement against the defendant: [![ "[A] plaintiff 'prevails' when
            26      actual relief on the merits of his claim materially alters the legal relationship between the parties

            27      by modifying the defendant's behavior in a way that directly benefits the plaintiff." The Court
            28      explained that"a material alteration of the legal relationship occurs [when] the plaintiff becomes
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                I   entitled to enforce a judgment, consent decree, or settlement against the defendant." In these

                2   situations, the legal relationship is altered because the plaintiff can force the defendant to do
                â
                J   something he otherwise would not have to do." Barrios v. CaL Interscholastic Fed'n,277 F.3d

                4   1128, ll34 (gthCir.2002) quoting Fischer v. SJB-P.D. Inc.,2l4 F.3d 1115, 1118 (9th Cir.

                5   2000).

                6            In Harris v. Marhoefer, 24 F.3d 16, 19 (1994), the Ninth Circuit Court of Appeal held
                7   that a prevailing plaintiff oomay recover as part of the award of attomey's fees those out-of-

                8   pocket expenses that 'would normally be charged to a fee paying client."' This is true even if

                9   such expenses would not qualifu as taxable costs. Id.; see United Steelworkers of America v.

            10      Phelps Dodge Corp., 896 F.2d 403,407 (9th Cir. 1990) (holding that out-oÊpocket litigation

            11      expenses are reimbursable as part of the attomeys' fee, distinct from the costs already awarded to

            12      plaintiffs under other provisions of law).

            13               In addition, in a civil rights case brought by a prisoner, attomeys' fees are limited by the

            T4      Prison Litigation Reform Act of 1995, which provides that the Plaintiff can only recover 150% of

            15      the amount of monetary judgment from the defendant and can only collect at an hourly rate of

            t6      150% of that allowed for attorneys who represent defendants as court appointed defenders. See

            t7      42 U.S.C. $ 1997e.

            18               26 42 U.S.C. $ 1997e(d) provides:

            t9                      (1)        In any action brought by a prisoner who is confined to any jail, prison, or
                             other correctional facility, in which attorney's fees are authorized under section 1988 of
            20               this title, such fees shall not be awarded, except to the extent that -

            2t                      (A)      the fee was directly and reasonably incurred in proving an actual violation
                             of the plaintifß rights protected by a statute pursuant to which a fee may be awarded
            22               under section 1988 of this title; and

            23                      (B)
            24                              (i) the amount of the fee is proportionately related to the court ordered
                                            relief for the violation; or
            25
                                            (ii) the fee was directly and reasonably incuned in enforcing the relief
            26                              ordered for the violation.

            27

            28

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                                           'Whenever
                                   (2)                 a monetary judgment is awarded in an action described in
                1          paragraph (1), a portion of the judgment (not to exceed 25 percent) shall be applied to
                           satisfr the amount of attorney's fees awarded against the defendant. If the award of
                2          attorney's fees is not greater than 150 percent of the judgment, the excess shall be paid by
                           the defendant.
                J

                4                  (3)   No award of attorney's fees in an action described in paragraph (1) shall
                           be based on an hourly rate greater than 150 percent ofthe hourly rate established under
                5          section 30064 of title 18 for payment of court-appointed counsel.

                6          B.
                7

                8          Awards under section 1988 are done under the "lodestar" method. "The oolodestar" is

                9   calculated by multþlying the number of hours the prevailing party reasonably expended on the

            10      litigation by a reasonable hourly rate. After making that computation, the district court then
            11      assesses whether it is necessary to adjust the presumptively reasonable lodestar figure on the

            t2      basis of the Kerr factors." Morales v. City of San Rafael,96 F.3d 359,363-364 (9th Cir. 1996).

            13      As seen below, the attorneys' fees sought in this case are reasonable, particularly given the
            l4      outcome obtained and the greatly reduced billing rates imposed by section 42 U.S.C. $ 1997e.

            15             1. A Lodestar Enhancement is Appropriate.

            t6             Pursuant to the PLRA, a district court has the authority to award attorney fees up to 150

            t7      percent of the maximum hourly rate established by the Criminal Justice Act, 18 U.S.C. $ 30064.

            18      See 42 U.S.C. $ 1997e(d)(3). The maximum hourly rate under the PLRA is $198 per hour for

            t9      attorneys and paralegals, which is far below Plaintifß' counsel's standard rates. Jamison Decl. fl

            20      3. A district court can flrther enhance attomey fees beyond the PLRA's limit in order to
            2t      reasonably compensate counsel. See Kelly, T F. Supp. 3d at 1081-84 (granting 2.0 multiplier for

            22      lead attorney's time and 1.3 multiplier for second attorney's time); Ginest v. Bd. of Cty. Comm'rs

            23      of CarbonCty,423 F. Supp.2d1237,l24l (D. Wyo.2006) (granting 21Yomultiplier);Skinnerv.

            24      Uphofl 324 F. Supp. 2d 1278, 1287 (D. Wyo. 2004) (granting 25Yo multiplier). Balla v. Idaho
            25      State Bd. of Corr.,No. CV-81-1165-S-BLW,2016 U.S. Dist. LEXIS 188836, at*29 (D. Idaho

            26      Feb. l, 2016) (granting up to a 1.97 multiplier).

            27             In appropriate cases, the district court may adjust the lodestar figure based on the Kerc
            28      factors that are not subsumed in the initial lodestar calculation. Morales v. City of San Rafael,96

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                I   F.3d 359, 363-64 (9th Cir. 1996). The Ken factors not subsumed in the initial lodestar
                2   calculation are: (1) the customary fee, (2) time limitations imposed by the client or the
                a
                J   circumstances, (3) the amount involved and the results obtained, (4) the experience, reputation,

                4   and ability of the attorneys, (5) the undesirability of the case, (6) the nature and length of the

                5   professional relationship with the client, and (7) awa¡ds in similar cases. All of these factors

                6   weigh heavily in favor of applying a lodestar enhancement in the present case.

                7           2. The PLRA X'ee Cap Is Well Below Counselos Customary X'ees.

                I           An enhancement from the PLRA rate is appropriate because the PLRA rate does not
                9   adequately measure Plaintiffs' counsel's true market value. See Perdue v. Kenny 1., 559 U.S.

            10      542, 555 (2010) (stating "an enhancement may be appropriate where the method used in
            11      determining the hourly rute employed in the lodestar calculation does not adequately measure the

            t2      attorney's true market value"); see also Skinner,324 F. Supp. 2d at 1287 (awarding enhancement

            13      "[g]iven the low hourly rate allowed under the PLRA"); Ginest, 423 F. Supp. 2d aI l24I (stating
            T4      "the PLRA fees are exceptionally low" and concluding "an enhancement is permissible to make

            15      the fee more fair"). The PLRA rates are well below the market rates of Plaintiffs' attorneys and

            I6      paralegals. Jamison Decl. !f 3. As stated above, the standard hourly rates of Plaintiffs' counsel are

            t7      typical for regional law firms, and are justified by the education, background, and experience of

            18      Plaintiffs' counsel. Jamison Decl. fl 3.
            t9             3. Plaintiffs Counsel Obtained A Very Favorable Result.

            20             Plaintiff s counsel assisted Plaintiff in achieving an exceptional result in this matter under

            2t      extreme time pressure and quickly mobilized to litigate the serious allegations alleged in

            22      PlaintifPs complaint. PlaintifPs counsel were appointed counsel for Mr. Mitchell in January

            23      2017, and prepared for trial set for June 20, 2017 . On June 12, 2017 , the trial was continued to

            24      August 15,2A17. Plaintiffinitially only had five months to prepare for trial. Discovery was

            25      closed and had to be reopened. Plaintiffs counsel successfully reopened discovery on a limited

            26      basis, which was instrumental in obtaining the favorable trial result. PlaintifPs counsel had to

            27      review thousands of documents for potential evidence. Because of the limited discovery initially

            28      done, and the restrictions placed on the reopened discovery, Plaintiff s counsel had to review the

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                               1   available evidence and determine who might be potential witnesses, how to contact them, and

                               2   what they might say. This included many potential witnesses that are incarcerated, which is a far

                               J   greater challenge that non-incarcerated witnesses.

                               4          Despite these circumstances, Plaintifß discovered compelling evidence and presented a

                               5   compelling case to the jury that supported Plaintiffs claim that his rights were violated.
                               6   Counsels' lodestar hours do not fully reflect their success because the quality of the work that

                               7   produced these results is underrepresented in the hourly fee. Balla, supra, at 33. Plaintiff

                               I   obtained success in the form of a $100,000 compensatory verdict, a second punitive trial phase,

                               9   and ultimately a $160,000 settlement in lieu of proceeding against Defendants for punitive

                              10   damages. Plaintiff obtained a very favorable result, and his attorneys should recover a fully

                              11   compensatory fee on the litigation. See l4/oods v. Carey, 722 F.3d ll77 , 1 183, n.6 (9th Cir. 2013

                              12   ("The majority of these actions result in low-damage awards for the prisoner, but can affect

                              13   substantial change in the prison conditions or prisoner treatment... [T]he mean damages for cases

                              T4   won at trial by inmate civil rights plaintiffs was $18,800, and the median was a mere $1,000.")

                              15           4. Prisoner Cases Are Undesirable

                              T6           "[A] 'reasonable' fee is a fee that is sufficient to induce a capable attorney to undertake
                              t7   the representation of a meritorious civil rights case." Perdue v. Kenny A., 559 U.S. 542, 552

                              18   (2010). A district court may enhance a fee award when oo'payrnent for attorney's services is

                              t9   contingent upon success and the attomey bears the risk of nonpayment in case of failure."'

                              20   Bernardi v. Yeutter,95l F.2d 971,975 (9th Cir. 1991) (citation omitted). This type of
                              2I   enhancement is appropriate if two prerequisites are met: "'[f]irst, the fee applicant must establish

                              22   that "without an adjustment for risk the prevailing party 'would have faced substantial
                              23   difficulties in finding counsel in the local . . . market,""" and, "'[s]econd, any enhancement for

                              24   contingency must reflect "the difference in market treatment of contingent fee cases as a class,

                              25   rather than . . . the oriskiness' of any particular cases.""' Id. (citation omitted; emphasis and

                              26   second ellipsis in original).

                              27           In addition to providing a low rate, fee awards are only available under the PLRA to the

                              28   prevailing party, and counsel generally has to pay all costs and expenses upfront, with no
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 "ll;".î.                                                                                                       1 :I   3-cv-0 1324-DAD-EPG
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                              I   guarantee of reimbursement. See ll'oods v. Carey,722F3d 1177, 1182 n.5 (9th Cir. 2013)

                              2   (where the court noted the success rate on prisoners suits is very low). Plaintiffs' counsel was
                              a
                              J   appointed by the Court to represent Plaintiff oî a pro bono basis in January 2017. A contingent

                              4   fee contract will generally take larger percentages if the matter has to go to trial and a larger

                              5   percentage will be requested for a successful outcome in more risky types of cases, which as

                              6   shown above, these cases are. For those reasons, an enhancement of the PLRA rate is
                              7   appropriate. See Kelly v. Wengler, 7 F. Supp. 3d 1069, 1083 (D. Idaho 2014) (concluding

                              I   enhancement warranted due to risk in taking contingent civil rigtrts cases and need to give other

                              9   counsel an incentive to take similar cases).

                          10               C. THE
                          l1
                                           As seen in the Billing Statement, attached as Exhibit J to the Thomas Declaration, the
                          t2
                          13
                                  Court should award Attorneys' Fees, as set forth in the following table:

                          t4
                                   Attomey                 Total Hours                 Hourly Rate           Total
                          15
                                   Justin Thomas           200.90                      $$22s.00              $50,225.00
                          t6
                                                            194.20                     $250.00               $43,695.00
                          t7
                                   Micah Nilsson           90.10                       $37s.00               $33,787.50
                          18
                                                           53.80                       $350.00               $18,830.00
                          t9
                                   )nn                      t7.70                      s395.00               $6,991.50
                         20
                                                            16.00                      $380.00               $6,080.00
                         2T
                                   I qrq ?.gA
                         22
                                   Kay Burnett             3.8                         $160.00               $608.00
                         23
                                   Total                    576.5                                            $160,049.50
                         24

                         25
                                   Reimbursable Cost                                Amount
                         26
                                   Costs Documented on Exhibit J                       86,697.54
                         27

                         28

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                  1          At Plaintiffs counsel normal billing rate, the total amount of fees billed is $160,049.50.
                  2   As noted in the last page of Exhibit J, the hours billed have already been reduced to reflect a
                  J   reasonable rate. When reduced by the limitations imposed by 42 U.S.C. $ 1997e, and before

                  4   applying any loadstar enhancement, Mitchell is entitled to attorneys' fees in the amount of

                  5   $114,002.60, pursuant to 42 U.S.C. $$ 1988 and I997e, Fed. R. Civ. P Rule 54, and Local Rule

                  6   293.

                  7          The total amount incurred, capped at the hourly maximum of $198.00, for attomey fees

                  I   and paralegal fees, and reimbursable costs is $120,700.10. This is well under the l50o/o limit of

                  9   the verdict imposed by 42 U.S.C. $ 1997e. Therefore, the Court should award attomeys'fees in

              10      the minimum amount of $120,700.10. Plaintiff further requests that a lodestar enhancement be

              11      applied to the attorneys' fee award. Plaintiff suggests a 2.0 multiplier for Mr. Jamison's time, a

              t2      1.75 multiplier for Mr. Nilsson's time and a 1.5 multiplier for Mr. Thomas' time. With the

              13      multipliers, the total award for fees would be $165,524.75 (Jamison - $19,151.50; Nilsson -

              t4      952,619.25; Thomas - $93,754). With costs, the total amount requested is$172,222.29.

              l5             D. THE CRITERIA OF' LOCAL RULE 293 TO A\ryARD ATTORNEYS T'EES
              t6                ARE MET

              l7             The criteria outlined in Local Rule 293(b) are clearly met here.

              18          1. Plaintiff Was The Prevailing Party
              t9             The jury returned a unanimous verdict in favor of Plaintiff and awarded a total of

             20       $100,000 in compensatory damages, as well as a verdict that Defendants' actions made them

             2t       liable to Plaintiff for additional punitive damages. Plaintiff clearly was the prevailing party in

             22       this matter. After the verdict the parties decided to settle the case, largely in order for Defendants

             23       to avoid the punitive damage phase of trial. Plaintiff was already the prevailing party with the

             24       jury verdict awarding him $100,000, and the settlement for $160,000 further demonstrates the
             25       favorable outcome Plaintiff received. Since Plaintiff was the prevailing party, Plaintiffls counsel

             26       is entitled to reasonable attorneys' fees.

             27              Prevailing party status is determined by inquiring whether plaintiff s 'oactual relief on the

             28       merits of [their] claim materially alters the legal relationship between the parties by modifying

D()WLIN(;IAARON                                                         11
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                1   the defendant's behavior in a way that directly benefits the plaintiff." Richard S. v. Dept. of Dev.

                2   Services of Caliþrnia, 317 F.3d 1080, 1087 (9 Cir. 2003); see also Barrios v. Cal.

                J   Interscholastic Fed'n, 277 F .3d 1128, 1 134 (9th Cir. 2002), (o'Here, the settlement agteement. ..

                4   requires [the defendant] to pay Barrios $ 10,000 in damages. Given that Barrios can enforce the

                5   terms of the settlement agreement against the [the defendant], the district court correctly
                6   concluded that Barrios was the 'prevailing party' in his civil rights litigation.")

                7          Just as in Barrios and Richard 5., the present settlement agreement substantially and

                I   materially alters the legal relationship between the parties, because the Defendants were required

                9   to pay Mitchell $160,000 in damages, which they otherwise would not have had to do. To
            10      determine whether the relief sought was obtained, courts look at 'owhat the lawsuit originally

            11      sought to accomplish and what relief actually was obtained." Andrew v. Bowen, 837 F.zd 875,

            1,2     877 (gbh Cir. 1988). Here, Mitchell's amended complaint sought damages from the Defendants

            13      for failing to protect him - the exact basis of relief obtained from the verdict and ultimate
            I4      settlement agreement.

            15         2, Plaintiff Is Eligibte To Receive An Award Of Attorneys Fees
            T6             As outlined above, Plaintiff meets the statutory criteria for being awarded attorneys' fees

            t7      as he is the Prevailing Party. Further, although the stþulation for dismissal which retained

            18      jurisdiction to enforce the settlement has not yet been ordered, it is still proper and timely for

            t9      Plaintiff to bring a fee motion. FAS Techs., Ltd. v. Dainippon Screen Mfg., Co., Ltd.,No. C 00-

            20      01879-CRB,200I WL 1159776, at *6 (N.D. Cal. Sept. 21,2001) (noting opposing party had

            2l      cited no authority "which requires a pæty to wait until judgment is actually issued to file and

            22      have heard a motion for fees").

            23             Plaintiff satisfies 42 U.S.C. $ 1997e(A) and (B) because he is the prevailing party as
            24      outlined above due to the judicially enforceable settlement, which is the functional equivalent of

            25      the entry of a consent decree. See ll'atts v. Dep't of Corr., No. 1:03-cv-5365 OWW DLB P,2007

            26      U.S. Dist. LEXIS 45812,at*7-9 (8.D. Cal. June 14,2007). Further, Plaintiff proved anactual

            27      violation by obtaining a unanimous jury verdict. See Thomas v. City of Tacoma, 410 F.3d 644,

            28      647 n.2 (9th Cir. 200s).

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                I          In addition, 42 U.S.C. $ 1997e(d)(2) does not apply to this motion because there was not

                2   ultimately a monetary judgment due to the settlement.42 U.S.C. $ 1997e(d) states:
                a
                                   (2) V/henever a monetary judgment is awarded in an action described in
                J          paragraph (1), a portion of the judgment (not to exceed 25 percent) shall be applied to
                           satis$ the amount of attorney's fees awarded against the defendant. If the award of
                4          attorney's fees is not greater than 150 percent of the judgment, the excess shall be paid by
                           the defendant.
                5

                6          "[T]he explicit retention of jurisdiction or the court's order specifically approving the
                7   terms of the settlement are, for these purposes, the functional equivalent of the entry of a consent

                8   decree." Am. Disability Ass'n v. Chmielarz,289 F.3d 1315, 1320 (1lth Cir. 2002). A consent

                9   decree is not a monetary judgment. The settlement agreement along with the stipulation of

            10      dismissal (the consent decree), if signed by the Court, is not a monetary judgment and would be

            11      the necessary judicial imprimatur, for which this fee motion is based. As 42 U.S.C. $ 1997e(d)

            T2      does not apply, the fee motion should not be limited to 150 percent of the judgment and should

            13      not require any portion of the attorneys' fees to be paid from the judgment.

            t4             The PLRA also requires that some portion of the fees be paid out of plaintiff s recovery.

            15      42 U.S.C. $ 1997e(d)(2). This provision is also not applicable. Plaintiff and his attorneys agreed

            t6      to accept the $198 hourly rate of the PLRA, but did not agree to any other portion of it. Plaintiff

            l7      and his attorneys' agreement to accept the $198 hourly rate did not extend to any other portions

            18      of this legally inapplicable statute. No portion of the fee and cost award should come out of
            t9      Plaintiffls settlement funds and all should be paid directly to Plaintiff s attorneys' by Defendants.
            20             Evenif 42 U.S.C. $ 1997e(d)(2) did apply, the requested amount is less than 150 percent
            2l      of $160,000. Also, if a portion of the settlement amount was to be applied to satisff the amount
            22      of the attorneys' fees awarded against defendant, it should be limited to I percent of the
            23      settlement amount. See Prater v. Sahota, No. CIV S- 06-1993 KJM GGH, 2012 U.S. Dist.

            24      LEXIS 65229, at *8 (8.D. Cal. May 8,2012) ("The PLRA also requires that some portion of the

            25      fees be paid out of plaintiffs judgment. 42 U.S.C. $ 1997e(d)(2). Although the Ninth Circuit has

            26      not addressed this provision, other courts generally say that the provision does not automatically

            27      require a court to apply 25 percent of the judgment to pay the fees. Boesing v. Spiess,540 F.3d

            28      886, 891 (8th Cir. 2008) (frnding no abuse of discretion when district court applied one percent

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                I   of the judgment to the fees). In this case, the court determines that one percent of the fees be paid

                2   out of plaintiffs judgment.")

                3      3. Plaintiff Has Shown The Amount Of Attorneys Fees Sought
                4          As shown above, Plaintiff has documented the attorneys' fees sought, by submitting
                5   statements and the declarations.
                       4. Plaintiffs Case And Plaintiffs Attorneys Meet The Criteria Set Forth In Local Rule
                6
                           293(C',)
                7          The time and labor spent by Plaintiffs attorneys is well documented in the Billing
                I   statement attached as Exhibit J to the declaration of Justin Thomas in support of this motion. The

                9   difficulty of prevailing on a section 1983 case is well known in the legal community, and legal
            l0      experience and skill were required to take this case to successful verdict, especially without the
            l1      aid of full discovery or experts on Plaintiff s side. Plaintiff s attorneys did this work after being
            t2      appointed by the Court, and did it in lieu of other work that they could have performed for
            13      paying clients. (Thomas Decl. t[ 16.) Plaintiffs attorneys obtained a very favorable result on
            l4      behalf of Plaintiff in which he recovered a total settlement of $160,000. Prisoner civil rights
            15      cases rarely have such a favorable result. In addition, the rights involved in this action, those of

            16      the proper protection of prisoners, are important and valuable rights that must be protected by a
            t7      humane and.advanced society. (Thomas Decl. 17.) Awarding attorneys' fees may encourage
            18      other attorneys to take cases that advance the protections of similar civil rights. Plaintiff was
            t9      represented by experienced attomeys. As is set out in Mr. Thomas' Declaration, he has been an
            20      attorney for four ye¿ìrs and during that time, Mr. Thomas has practiced in litigation.
            2t             Micah Nilsson is also an experienced litigator. He was admitted to the State Bar of
            22      Califomia in 2007 after having received his Juris Doctorate degree from the University of
            23      California, Davis School of Law. He is a member of the firm's Litigation Department,
            24      Managing Shareholder of the firm's Bakersfield office, and has an extensive practice in the area
            25      of civil litigation. He has tried numerous cases to verdict. (See Thomas Decl. 11 19.)
            26

            27

            28

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                1                                        ilL     CONCLUSION
                2          Plaintiff prevailed by jury verdict and the subsequent settlement in the instant action.
                a
                J   The Court should grant Plaintiff s attomeys' fees in the minimum amount of $120,700.10, before

                4   a lodestar enhancement is applied. With the lodestar enhancement, the Court should award
                5   attorneys' fee from Defendants in the amount of $172,222.29.Plaintiff asks for the court to order

                6   the requested attorneys' fees, supplemented with any additional time required for reply and the

                7   time for the hearing, and to be paid to Plaintiff s attomeys no later than May 1, 2018.

                I   Dated: January 9, 2018                               Respectfully Submitted,
                9                                                        DOWLING AARON INCORPORATED
            l0
            11                                                        By: /s/ Justin L. Thomas
                                                                           Micah K. Nilsson
            t2
                                                                           Justin L. Thomas
            13                                                             Attorneys for Plaintiff
                                                                           COREY MITCHELL
            t4
            15

            16

            T7

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                                                          PROOF' OF' SERVICE
                1

                    STATE OF'CALTF'ORNIA )
                2                                     )SS
                    couNTY oF KERN                    )
                J
                           I am a citizen of the United States and a resident of the County aforesaid; I am over the
                4   age of eighteen (18) years and not aparty to the within-entitled action. My business address is
                    Dowling Aaron Incorporated, 5080 California Avenue, Suite 340 Bakersfield, California,93309.
                5   On January 9,2018,I served the within document(s):

                6    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF'MOTION F'OR
                                                              ATTORNEYNS FEES
                7
                           By ELECTRONIC cMÆcF' sysrrM: I hereby certi$' that on January 9,2018,1
                I X         electronically filed the following document with the Clerk of the Court by using the
                            CI\4/ECF system:
                9
                    Gabrielle De Santis Nield                             Michael Anthony Terhorst
            10
                    Edgar R. Nield                                        BEESON TERHORST, LLP
            11
                    NIELD LAW GROUP, APC                                  510 Bercut Drive, Suite V
                    Westlake Professional Center                          Sacramento, CA 95811-01I I
            t2      679 Encinitas Blvd, Suite 201                         X'or Defendant Sgt. Sheldon
                    Encinitas, CA92024
            13
                    For Defendant Chavez
            t4
            15      I further certify that some of the participants in the case are not registered CMÆCF users. On
                    DATE, 2017r I have mailed the foregoing documents by first class mail postage pre-paid or have
            T6
                    dispatched it to a third party commercial carrier for delivery within three (3) calendar days to the
            t7      above-named non-CIWECF participant(s).

            18
                    X       F'EDERAL: I declare under penalty of perjury under the laws of the State of California
            t9      that the foregoing is true and correct.

            20              I declare that I am employed in the office of a member of the bar of this court at whose
                    direction the service was made.
            2l
            22      Executed on January 9,2018, at Bakersfield, California.

            23
                                                                   /s/ Rhonda Sandidse
            24                                                     Rhonda Sandidge

            25

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                                                                                                  I : l3-cv-01324-DAD-EPG
